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                                    UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES

Date: July 12, 2021                Time: 11:06-12:01pm               Judge: Edward J. Davila
                                   Total Time: 55 Mins.
Case No.: 20-cr-00343-EJD- Case Name: UNITED STATES v. Gaster Lapadat(P)(NC)
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Attorney for Plaintiff: Maia Perez
Attorney for Defendant: Severa Keith

 Deputy Clerk: Adriana M. Kratzmann                  Court Reporter: Irene Rodriguez

 Interpreter: Lupita Arce (Spanish)                  Probation Officer: Catheryn Grier

                                 PROCEEDINGS – SENTENCING HEARING
                                             IN-COURT

Defendant is present, out of custody and assisted by the Spanish language interpreter. Hearing held.
The Court GRANTS a variance.
The Court sentenced the defendant as follows:
The defendant is hereby committed to the Bureau of Prisons (BOP) to be imprisoned for a term of 60
days as to Ct. 5 of the Indictment (Dkt. 4 filed 9/8/2020).
Upon release from imprisonment, if the defendant is not deported, shall serve a term of 4 years of
supervised release as to Ct. 5. The Court adopts the Probation Officers recommendations as to the
standard and special conditions of supervised release (SEE JUDGMENT).
The Court imposed a fine in the amount of $1,000.00.
Restitution is ordered in the amount of $11,127.14 payable to the victims as listed on the Judgment.
A special assessment fee of $100.00 is imposed.
The defendant shall self-surrender on 10/13/2021 by 2:00 p.m. to either the designated facility if a
facility has not been designated then the defendant is to self-surrender to the U.S. Marshal’s office.
The Court makes the following recommendation: That the defendant be designated to a minimum-
security facility as close to Denver, Colorado where the defendant’s family resides. The Court notes that
the offense is a non-violent offense. The Court finds that family visitation enhances rehabilitation.




                                                                                         Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                             Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                                Original: Efiled
 I: Interpreter
                                                                                                           CC:
